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                                                        : ,, __



                             UNITED STATES         DISTRIE~~
                               DISTRICT OF RHODE ISLAND
                                                       ZO\q FEB I 0 A \0: 5.8
CERTAIN UNDERWRITERS AT                        )        U.S. DISTRICT GOURT
LLOYD'S, LONDON, SUBSCRIBING TO                )     DISTRICT OF RHODE lSLAHH
POLICY NUMBER LPK 02377                        )
                Plaintiffs,                    )
                                               )

                                                       DOC~J\T4-
               Vs.                             )

825 MAIN STREET, LLC
                                               )
                                               )
                                                                                         76
                  Defendant.                   )


                        COMPLAINT FOR DECLARATORY RELIEF
                            ANDCLMMFORmRYTRIAL


                                      NATURE OF ACTION

        1.     This Complaint is a request for a judgment declaring that an insurance policy that

certain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377 ("Underwriters")

issued to the 825 Main Street, LLC ("825 Main") does not require Underwriters to pay for any loss,

damages, costs or expenses which 825 Main has or may incur by reason of water damage and/or

structural damage to a building located at 825 Main Street, West Warwick, Rhode Island, alleged to

have occmTed on or about September 16, 2011.

                                 mRISDICTION AND VENUE

        2.     This Comi has jmi.sdiction over this matter tmder 28 U.S.C. sec. 1332 in that it arises

between citizens of different states I com1tries and the matter in controversy exceeds the sum or

value of seventy-five thousand dollars ($75,000.00), exclusive of interest and costs.
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        3.      Venue is proper in this district under 28 U.S.C. sec. 1391(a)(2) and (b)(2) as this

action concems an insmance policy issued to 825 Main for a dwelling located in West Warwick,

Rhode Island.

                                             PARTIES

        4.      Underwriters are those individuals subscribing to a policy of insmance, no. LPK

02377 issued by certain Underwriters at Lloyd's, London to 825 Main Street Realty, LLC, effective

January 28, 2011 through January 28, 2012.

        5.      825 Main is a Rhode Island limited liability company with a principal place of

business at 18 Imperial Place, Suite 1G, Providence, RI.

                                         BACKGROUND

        6.      Upon information and belief, at all relevant times 825 Main owned property located

at 825 Main Street, West Warwick, Rhode Island, once operated as a mill complex including a two-

story frame building known as the dye house (collectively referr-ed to as "the mill" and the specific

building as ''the dye house").

        7.      Upon inf01mation and belief, 825 Main makes claims for losses relating to the

failme of a portion of the mill's fire suppression system causing water damage on or about on

September 16, 2011. 825 Main claims that the mill's walls, :fl. oors, and electrical and mechanical

systems were severely damaged and that the water damage caused a portion of the first floor facility

to collapse onto the lower level. 825 Main's claim seeks demolition I repair I restoration costs.

        8.      825 Main also alleges to have sustained loss of income due to the inability to repair

and rent the premises.

        9.      825 Main's claim also seeks coverage for "Defaulted credit facility" and expenses

allegedly incurred by 825 Main's principal, John Ponte ("Ponte"), to resolve and dispose of a bank's
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action against Ponte relative to a personal guaranty connected to certain secured indebtedness

obtained for the purchase of the property at 825 Main Street.

       10.     On October 19, 2011, the West Warwick Building Depmiment ("Building

Depmiment") sent a cease and desist letter to 825 Main ordering that all operations at the premises

be stopped. As reason, the Building Depmiment determined that:

        There is massive deterioration of the wood components (flooring, beams and posts)
       throughout the entire building. Additionally the reinforced concrete slab has spalled
       in many areas leaving the steel reinforcement exposed and rusting. The joists, which
       support the original first floor woodjloor, are also badly deteriorated/failed as is
       the steel "C" channel. Also a portion of the floor collapsed in an area
       approximately 15' x 80' on the northwest end of the building.

A true m1d conect copy of the Building Department letter is attached hereto as Exhibit "A."


       11.     The plaintiffs initially investigated the cause and origin of the loss. This included

retaining m1 independent adjuster who visited the property, took photographs, obtained documents

from local authorities, spoke with witnesses, retained experts (Victor Popp, PE, a sprinlder expert,

Michael P. Hickey, Jr., an electrical expert, and Douglas Fisher, PE, a structural engineer), and

reviewed the fmdings of Ponte's expert, Richm·d Pastore, P.E., and the West Wmwick Building

Depmiment.

       12.     Following the initial investigation, the parties reached a settlement relative to 825

Main's claims for property dmnage. In Febmm·y of 2012, a proof of loss was sent based on the

agreed to mnotmt of the claim.

       13.     Ponte later disagreed with the settlement mnount m1d would not accept payment.

       14.     On July 25, 2012, Underwriters' independent adjuster sent conespondence to Ponte

indicating that Underwriters were awme that 825 Main would no longer accept the previously
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agreed to settlement amount, and noting that 825 Main would need to specify the amount of its

claim and designate an appraiser if it wanted to proceed with an appraisal..

        15.    It was not tmtil January 2013, after several follow up inquiries on behalf of the

plaintiffs that noted the process for appraisal, that a letter on behalf of 825 Main asserted vastly

expanded claims, for the first time including a continuing loss of income claim. No documents

suppmiing the new I expanded claims were provided.

        16.    Underwriters then retained cotmsel and, in March 2013, requests for supporting

documents were made, subject to a full reservation of rights.

        17.    After no documents were forwarded, cotmsel noticed Ponte's examination under

oath for April30, 2013, with another request that suppmiing documents be provided.

        18.    The examination tmder oath was rescheduled based on the April29, 2013 request of

825 Main's cotmsel.

       19.     On May 20, 2013, having still received no suppmiing documents and tmsuccessfully

attempting to schedule a site visit, cotmsel re-noticed Ponte's examination under oath for June 24,

2013, with another request that supporting documents be provided.

       20.     The Jtme 24, 2013, examination tmder oath commenced, but was suspended when it

became cleaT that many of the requested documents were not produced and 825 Main was not in a

position to clarify the nature of its claims. The continued examination under oath was noticed for

August 13, 2013.

       21.      In an effmi to have docmnents available prior to the August 2013 examination

tmder oath, com1sel for Underwriters met with counsel for 825 Main Street on July 29, 2013. It was

leamed at tllis meeting that the mnom1ts originally claimed were no longer valid and new categories
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of claims were to be asserted, including losses allegedly related to defaulted loan obligations.

Additional docmnents were promised.

        22.     The day before the August 13, 2013 examination under oath was to talce place, 463

additional docmnents were produced without explanation or clarification of 825 Main's claims.

Cotmsel for Underwriters canceled the examination m1der oath and requested an explanation with

suppmiing docmnentation for each aspect of 825 Main's expanding and changing claims.

        23.     Having received no response, on September 4, 2013, counsel again noticed Ponte's

continued examination m1der oath for October 3, 2013, with a request for all docmnents to be

produced by September 25, 2013. The notice cited to the Policy's cooperation requirements and

that Underwriters were reserving their rights, similar to the prior notices and requests for

docmnents.

        24.     825 Main failed to timely comply with the requested pre-examination production of

doctU11ents, prompting counsel for Underwriters to again cancel Ponte's continued examination.

        25.     On October 24, 2013, 825 Main provided conespondence asserting that its claims

involved loss of rental income, demolition/repair/ restoration costs and expenses, and "defaulted

credit facility" losses, substantially greater than previously presented.

        26.     On November 14, 2013, 825 Main indicated that the claim should agam be

significantly increased, including a claim for more than $550,000 to resolve and dispose of a banlc's

action to collect on a personal guaranty Conte provided relative to a loan associated with the

pmchase of the mill. No docmnents were provided in support of this claim.

        27.     As detailed, Underwriters' investigation efforts were repeatedly met with m1timely,

incomplete and/or m1clear presentation of 825 Main's claims.
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        28.     A denial of coverage letter dated December 6, 2013, was sent to Ponte, care of his

cotmsel at the time. A tme and correct copy of the Denial letter is attached hereto as Exhibit "B."

        29.     New counsel for Ponte retained by 825 Main responded to that denial letter and

selected an appraiser by letter dated January 27, 2014. A nue and correct copy of that response

letter is attached hereto as Exhibit "C."



                                            THE POLICY

        30.     Underwriters issued Certificate number LPK 02377 to 825 Main, effective January

28, 2011, through January 28, 2012, which lists the described locations as five (5) buildings at 825

Main Street, West Warwick, Rhode Island, including two warehouses, a two-family dwelling, and a

manufactming building. ("the Policy"). A true and correct copy of the Policy is attached hereto as

Exhibit "D."

        31.     The following prov1s10ns appear       ill   the Policy   ill   form BUILDING AND

PERSONAL PROPERTY COVERAGE FORM (CP 00 10 06 07):

       A.       Coverage

        We will pay for direct physical loss or damage to Covered Property at the premises
        described in the Declarations caused by or resulting from any Covered Cause ofLoss.

                1. Covered Property
                Covered Property, as used in this Coverage Part, means the type ofproperty
                described in this section, A.l., and limited in A.2., Property Not Covered, if a
                Limit of Insurance is shown in the Declarations for that type ofproperty.
                       a. Building, meaning the building or structure described in the
                       Declarations, including:
                       (1) Completed additions;
                       (2) Fixtures, including outdoor fixtures;
                       (3) Permanently installed:
                       (a) Machinery and (b) Equipment;
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                    b. Your Business Personal Property located in or on the building
                    described in the Declarations or in the open (or in a vehicle) within 100
                    feet of the described premises, consisting of the following unless
                    otherwise specified in the Declarations or on the Your Business Personal
                    Property -Separation Of Coverage form:
                    (1) Furniture andfixtures;
                     (2) Machinery and equipment;


             2. Property Not Covered
             Covered Property does not include:
                    a. Accounts, bills, currency, food stamps or other evidences of debt,
                    money, notes or securities. Lottery tickets held for sale are not securities;


             3. Covered Causes Of Loss
             See applicable Causes Of Loss Form as shown in the Declarations.

             4. Additional Coverages
                    a. Debris Removal
                    (1) Subject to Paragraphs (3) and (4), we will pay your expense to remove
                    debris of Covered Property caused by or resulting .from a Covered Cause
                    ofLoss that occurs during the policy period. The expenses will be paid
                    only if they are reported to us in writing within 180 days of the date of
                    direct physical loss or damage.


      32.    The following provisions appear in the Policy in form CAUSES OF LOSS -

SPECIAL FORM (CP 10 30 06 07):

      A.     Covered Causes of Loss
      When Special is shown in the Declarations, Covered Causes of Loss means Risks of Direct
      Physical Loss unless the loss is:
             1. Excluded in Section B., Exclusions; or
             2. Limited in Section C., Limitations;
             that follow.

      B.     Exclusions
              1.      We will not pay for loss or damage caused directly or indirectly by any of the
             following. Such loss or damage is excluded regardless of any other cause or event
              that contributes concurrently or in any sequence to the loss.

             a. Ordinance Or Law
             The enforcement ofany ordinance or law:
             (1) Regulating the construction, use or repair ofany property; or
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         (2) Requiring the tearing down ofany property, including the cost of removing its
         debris.

         This exclusion, Ordinance Or Law, applies whether the loss results from:

         (b) The increased costs incurred to comply with an ordinance or law in the course
         of construction, repair, renovation, remodeling or demolition ofproperty, or
         removal of its debris following a physical loss to that property.


          2.     We will not pay for loss or damage caused by or resulting from any of the
         following:

         d. (1) Wear and tear;
            (2) Rust or other corrosion, decay, deterioration, hidden or latent defect or any
            quality in property that causes it to damage or destroy itself;


         But ifan excluded cause of loss that is listed in 2.d. (1) through (7) results in a
         "specified cause of loss" or building glass breakage, we will pay for the loss or
         damage caused by that "specified cause ofloss" or building glass breakage.


         f.  Continuous or repeated seepage or leakage of water, or the presence or
         condensation of humidity, moisture or vapor, that occurs over a period of 14 days or
         more.

         k. Collapse, including any ofthe following conditions ofproperty or any part ofthe
         property:
            (1) An abrupt falling down or caving in;
            (2) Loss ofstructural integrity, including separation ofparts of the property or
         property in danger offalling down or caving in; or
           (3) Any cracking, bulging, sagging, bending, leaning, settling, shrinkage or
         expansion as such condition related to (1) or (2) above.
         But if collapse results in a Covered Cause ofLoss at the described premises, we will
         pay for the loss or damage caused by that Covered Cause ofLoss.

         This exclusion k. does not apply:
             (a) To the extent that coverage is provide under the Additional Coverage
         Collapse,· or
             (b) To collapse caused by one or more ofthefollowing:
                 (i) The "specified causes of loss";

         m. Neglect of an insured to use all reasonable means to save and preserve property
         from further damage at and after the time of loss.
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             4.        Special Exclusions
             The following provisions apply only to the specified Coverage Forms.

             a.     Business Income (And Extra Expense) Coverage Form, Business Income
             (Without Extra Expense) Coverage Form, Or Extra Expense Coverage Form

             We will not pay for:


                  (3) Any increase ofloss caused by or resulting from:


                   (b) Suspension, lapse or cancellation ofany license, lease or contract. But if the
                   suspension, lapse or cancellation is directly caused by the "suspension" of
                   "operations", we will cover such loss that affects your Business Income during
                   the ''period ofrestoration" and any extension of the ''period ofrestoration" in
                   accordance with the terms ofthe Extended Business Income Additional
                   Coverage and the Extended Period OfIndemnity Optional Coverage or any
                   variation of these.

               (4) Any Extra Expense caused by or resulting from suspension, lapse or
               cancellation ofany license, lease or contract beyond the ''period ofrestoration".



      33.    The following provisions also appear in the Policy in form CAUSES OF LOSS-

SPECIAL FORM (CP 10 30 06 07):

      D.     Additional Coverage Collapse

      The coverage provided under this Additional Coverage - Collapse applies only to an abrupt
      collapse as described and limited in D.1 through D. 7

      1. For the purpose of this Additional Coverage- Collapse, abrupt collapse means an
      abrupt falling down or caving in of a building or any part ofa building with the result that
      the building or any part of a building cannot be occz,tpied for its intended pwpose.
       2. We will pay for direct physical loss or damage to Covered Property, caused by abrupt
      collapse ofa building or any part of a building that is insured under this Coverage Form or
      that contains Covered Property insured under this Coverage Form, if such collapse is
      caused by one or more of the following:
              a. Building decay that is hidden from view, unless the presence of such decay is
              known to an insured prior to collapse.
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      34.    The following provisions also appear in the Policy in form CAUSES OF LOSS-

SPECIAL FORM (CP 10 30 06 07):

      G. Definitions

      2.       "Specified causes of loss" means the following: fire; lightning; explosion;
      windstorm or hail,· smoke; aircrqft or vehicles; riot or civil commotion; vandalism; leakage
     .fi·om fire-extinguishing equipment,· sinkhole collapse,· volcanic action,· falling objects,·
      weight ofsnow, ice or sleet; water damage.


      35.    The following provisions appear in the Policy in form BUSINESS INCOME (AND

EXTRA EXPENSE) COVERAGE FORM (CP 00 30 06 07):

      A.     Coverage
      1.     Business Income
             Business Income means the:
             a. Net Income (Net Profit or Loss before income taxes) that would have been
                earned or incurred; and
             b. Continuing normal operating expenses incurred, including payroll.

             Coverage is provided as described and limited below for one or more of the
            following options for which a Limit ofInsurance is shown in the Declarations:
             (1) Business Income including "Rental Value".
             (2) Business Income other than "Rental Value".
             (3) "Rental Value".

             If option (1) above is selected, the term Business Income will include "Rental
             Value". If option (3) above is selected, the term Business Income will mean "Rental
             Value" only.

            IfLimits ofInsurance are shown under more than one ofthe above options, the
            provisions of this Coverage Part apply separately to each. We will pay for the actual
            loss ofBusiness Income you sustain due to the necessary "suspension" ofyour
            "operations" during the ''period ofrestoration". The "suspension" must because by
            direct physical loss of or damage to property at premises which are described in the
            Declarations and for which a Business Income Limit ofInsurance is shown in the
            Declarations. The loss or damage must be caused by or result from a Covered
            Cause ofLoss.

            We will pay for the actual loss of Business Income you sustain due to necessary
            "suspension" of your "operations" during the "period of restoration". The
            "suspension" must be caused by direct physical loss of or damage to property at
            premises which are described in the Declarations and for which a Business Income
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               Limit of Insurance is shown in the Declarations. The loss or damage must be
               caused by or result from a Covered Cause ofLoss. ...

     2.        Extra Expense
               a. Extra Expense coverage is provided at the premises described in the
                  Declarations only if the Declarations show that Business Income coverage
                  applies at that premises.
               b. Extra Expense means necessary expenses you incur during the "period of
                  restoration" that you would not have incurred if there had been no direct
                  physical loss or damage to property caused by or resulting from a Covered
                  Cause ofLoss.

                   We will pay Extra Expense (other than the expense to repair or replace
                   property) to:
                   (1) Avoid or minimize the "suspension" of business and to continue operations
                   at the described premises or at replacement premises or temporary
                   locations, including relocation expenses and costs to equip and operate the
                   replacement location or temporary location.
                   (2) Minimize the "suspension" of business ifyou cannot continue
                   "operations".
                   We will also pay Extra Expense to repair or replace property, but only to the
                   extent it reduces the amount of loss that otherwise would have been payable
                   under this Coverage Form.

     3.        Covered Causes of Loss, Exclusions and Limitations
               See applicable Causes ofLoss Form as shown in the Declarations.

     36.       The following provisions appear in the Policy in form BUSINESS INCOME (AND

EXTRA EXPENSE) COVERAGE FORM (CP 00 30 06 07):

     F.     Definitions

          3. "Period of restoration" means the period oftime that:
              a. Begins:
                (1) 72 hours after the time of direct physical loss or damage for Business Income
                Coverage; or
                (2) Immediately after the time of direct physical loss or damage for Extra Expense
                Coverage;
                caused by or resulting from any Coverage Cause ofLoss at the described premises;
                and

            b. Ends on the earlier of
                (1) The date when the property at the described premises should be repaired,
                rebuilt or replaced with reasonable speed and similar quality [sic]; or
                (2) The date when business is resumed at a new permanent location.
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       37.    The following provisions also appear in the Policy in fonn BUILDING AND

PERSONAL PROPERTY COVERAGE FORM (CP 00 10 06 07):

       Throughout this policy the words "you" and "your" refer to the Named Insured shown in
the Declarations. The words "we", "us" and "our" refer to the Company providing this insurance


       E. Loss Conditions

       2. Appraisal
       If we and you disagree on the value of the property or the amount ofloss,   either may
       make written demand for an appraisal of the loss.

       3. Duties In The Event Of Loss Or Damage
              a. You must see that the following are done in the event of loss or damage to
              Covered Property:

               (5) At our request, give us complete inventories of the damaged and
              undamaged property. Include quantities, costs, values and amount of loss
              claimed
              (6) As often as may be reasonably required, permit us to examine the
              property proving the loss or damage and examine your books and records.
               Also permit us to take samples of damaged and undamaged property for
              inspection, testing and analysis, and permit us to make copies ji-om your
              books and records.

              (7) Send us a signed, sworn proof of loss containing the information we request to
              investigate the claim. You must do this within 60 days after our request We will
              supply you with the necessary forms.
              (8) Cooperate with us in the investigation or settlement of the claim.

              b. We may examine any insured under oath, while not in the presence of any
              other insured and at such times as may be reasonably required, about any
              matter relating to this insurance or the claim, including an insured's books
              and records. In the event of an examination, an insured's answers must be
              signed

       38.    Similarly, the BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE

FORM (CP 00 30 06 07) provides:

       C. Loss Conditions
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            2. Duties In The Event OfLoss
               a. You must see that the following are done in the event ofloss:

               (4) Take all reasonable steps to protect the Covered Property from further
               damage, and keep a record of your expenses necessary to protect the
               Covered Property, for consideration in the settlement of the claim. This will
               not increase the Limit of Insurance. However, we will not pay for any
               subsequent loss or damage resulting from a cause of loss that is not a
               Covered Cause ofLoss.

               (5) As often as may be reasonably required, permit us to inspect the property
               proving the loss or damage and examine your books and records.
               Also permit us to take samples of damaged and undamaged property for
               inspection, testing and analysis, and permit us to make copies fi·om your
               books and records.
               (6) Send us a signed, sworn proofofloss containing the information we request to
               investigate the claim. You must do this within 60 days after our request. We will
               supply you with the necessary forms.
               (7) Cooperate with us in the investigation or settlement of the claim.
               (8) If you intend to continue your business, you must resume all or part of
               your "operations" as quickly as possible.

               b. We may examine any insured under oath, while not in the presence of any
               other insured and at such times as may be reasonably required, about any matter
               relating to this insurance or the claim, including an insured's books and records.
               In the event of an examination, an insured's answers must be signed

      39.      The following provisions appear in the Policy in form COMMERCIAL

PROPERTY CONDITIONS (CP 00 90 07 1988):

      This Coverage Part is subject to the following conditions, the Common Policy Conditions
      and applicable Loss Condition and Additional Conditions in Commercial Property
      Coverage Forms.

     D. LEGALACTIONAGAINSTUS

     No one may bring a legal action against us under this Coverage Part unless:
     1. There had been full compliance with all of the terms of this Coverage Part; and
     2. The action is brought within 2 years after the date on which the direct physical loss or
        damage occurred
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                                                 COUNT I

    DECLARATION THAT THE POLICY'S LIMITATIONS PERIOD FOR ACTIONS
                 AGAINST UNDERWRITERS HAS EXPIRED

          40.    The plaintiffs repeat and reallege the allegations contained in paragraphs one (1)

tln·ough thirty-nine (39) as if fully stated herein.

          41.    An actual controversy within the jmisdiction of this court exists between the parties

as to whether or not ce1iain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

are required to inde1mlify 825 Main for loss, damages, costs or expenses wllich 825 Main has

incuiTed or may incm as a result of damage to the mill, including alleged loss of rental income and

"defaulted credit facility," tmder the Policy.

          42.    The Policy has a limitations period for actions against Underwriters. Such actions

must be brought within 2 years after the date on wllich the direct physical loss or damage occUlTed.

          43.    The physical loss or damage occUlTed on or about September 16, 2011.

          44.    The Limitations period expired on September 16, 2013.

          45.    The claim for appraisal was not made tmtil January 27, 2014.

          WHEREFORE, the plaintiffs, Underwriters, request a judgment declaring as follows:

          a.     That the Policy's Limitations period is valid, enforceable, and not against public

policy.

          b.     That the Policy's Limitations period expired as of September 17, 2013.

          c.     That certain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02247

are not required to participate in the appraisal process as it amounts to an action against the plaintiffs

beyond the Limitations period.

          d.     That under the Policy, certain Underwriters at Lloyd's, London subscribing to Policy

No. LPK 02377 are not required to indennlify 825 Main for loss, damages, costs or expenses which
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825 Main has incurred or may incur by reason of water damage and/or stmctural damage to a

building located at 825 Main Street, West Warwick, Rhode Island, alleged to have occurred on or

about September 16, 2011.

         e.     That ce1iain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

be awarded all other relief allowed by law or in equity which the Court deems appropriate and just.

                                                 COUNT II

  DECLARATION THAT ALL ASPECTS OF THE LOSS ARE EXCLUDED BY "WEAR
               AND TEAR" I DETERIORATION EXCLUSIONS

         46.    The plaintiffs repeat and reallege the allegations contained in paragraphs one (1)

through fmiy-five (45) as if :fully stated herein.

         47.    An actual controversy within the jurisdiction of this comi exists between the parties

as to whether or not ce1iain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

are required to indemnify 825 Main for loss, damages, costs or expenses which 825 Main has

incmTed or may incur as a result of damage to the mill, including alleged loss of rental income and

"defaulted credit facility," m1der the Policy.

         48.    The Policy excludes coverage for Wear and tear and Rust or other corrosion, decay,

deterioration, hidden or latent defect or any quality in property that causes it to damage or destroy

itself

         49.    These exclusions apply to loss or damage . .. caused directly or indirectly by these
causes regardless of any other cause or event that contributes concurrently or in any sequence to
the loss.
         50.    The primary cause of the stmctural damage was the poor condition of the framing
prior to the sprinlder failure event.
         51.    The predominant or proximate cause of the loss is not a "specified cause of loss."
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        52.      The "Collapse" provisions in the Policy do not create coverage for any aspect of the

loss.

        53.      Coverage for some or all of 825 Main's claims are excluded by "wear and tear" I

deterioration exclusions.

        WHEREFORE, the plaintiffs, Underwriters, request a judgment declrui.ng as follows:

        a.       That tmder the Policy, certain Underwriters at Lloyd's, London subscribing to Policy

No. LPK 02377 are not required to indemnify 825 Main for loss, damages, costs or expenses which

825 Main has incmred or may incm by reason of water damage and/or stmctmal damage to a

building located at 825 Main Street, West Warwick, Rhode Island, alleged to have occurred on or

about September 16, 2011.

        b.       That cetiain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

be awarded all other relief allowed by law or in equity which the Court deems appropriate and just.

                                                 COUNT III

        DECLARATION THAT ALLEGED DAMAGES CAUSED BY THE BUILDING
         DEPARTMENT'S ORDER TO CEASE OPERATIONS ARE EXCLUDED BY
                     "ORDINANCE OR LAW" EXCLUSION

        54.      The plaintiffs repeat and reallege the allegations contained in paragraphs one (1)

tlu.'ough fifty-three (53) as if fully stated herein.

        55.      An actual controversy within the jmisdiction of this court exists between the parties

as to whether or not cetiain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

are required to indetmlify 825 Main for loss, damages, costs or expenses which 825 Main has

incmTed or may incm as a result of damage to the mill, including alleged loss of rental income and

"defaulted credit facility," under the Policy.
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            56.   The Policy excludes coverage for loss or damage caused directly or indirectly by . ..

Regulating the construction, use or repair ofany property ... or . . . Requiring the tearing down of

any property, including the cost ofremoving its debris.

        57.       Tllis exclusion applies to loss or damage ... caused directly or indirectly by these
causes regardless of any other cause or event that contributes concurrently or in any sequence to
the loss.
        58.       The Building Department ordered that all operations to cease and desist due to:

massive deterioration of the wood components (flooring, beams and posts) throughout the entire

building. Additionally the reinforced concrete slab has spalled in many areas leaving the steel

reinforcement exposed and rusting. The joists, which support the original first floor wood floor, are

also badly deteriorated/failed as is the steel "C" channel. Also a portion of the floor collapsed in an

area approximately 15' x 80' on the northwest end of the building.

            59.   Coverage for some or all of 825 Main's claims are excluded by "Ordinance Or Law"

exclusion.

        WHEREFORE, the plaintiffs, Underwriters, request a judgment declaring as follows:

        a.        That under the Policy, certain Underwriters at Lloyd's, London subscribing to Policy

No. LPK 02377 are not required to indemnify 825 Main for loss, damages, costs or expenses which

825 Main has incurred or may incur by reason of the Building Departments order to cease and desist

operations at 825 Main Street, West Warwick, Rhode Island, following the loss alleged to have

occmTed on or about September 16, 2011.

        b.        That certain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

be awarded all other relief allowed by law or in equity which the Court deems appropriate and just.

                                              COUNT IV

     DECLARATION THAT THERE IS NO COVERAGE FOR ANY ALLEGED LOST
                          RENTAL INCOME
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          60.    The plaintiffs repeat and reallege the allegations contained in paragraphs one (1)

through fifty-nine (59) as if fully stated herein.

          61.    An actual controversy within the jurisdiction of this court exists between the parties

as to whether or not certain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

are required to indemnify 825 Main for loss, damages, costs or expenses which 825 Main has

inctmed or may incur as a result of damage to the mill, including alleged loss of rental income,

under the Policy.

          62.    In order for there to be coverage for any loss of rental income, the Business Income

and Extra Expense Coverage Form (CP 00 30 06 07) requires the loss or damage to be caused by or

result from a Covered Cause of Loss.

          63.    The alleged loss in September 2011 does not involve a covered cause ofloss.

          64.    There is no coverage available to 825 Main for any alleged loss of rental income

because of applicable and controlling language and/or exclusions or limitations contained in the

Policy.

          WHEREFORE, the plaintiffs, Underwriters, request a judgment declaring as follows:

          a.     That under the Policy, certain Underwriters at Lloyd's, London subscribing to Policy

No. LPK 02377 are not required to indemnify 825 Main for alleged loss of rental income following

events alleged to have occtmed on or about September 16, 2011.

          b.     That certain Underwriters' at Lloyd's, London, subscribing to Policy No. LPK

023 77, duty to indemnify for alleged loss of rental income would otherwise be limited to loss from

suspension of operations during the "period of restoration," as that term is defined by the Policy.
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        c.      That certain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

be awarded all other relief allowed by law or in equity which the Comt deems appropriate and just.

                                              COUNTV

        DECLARATION THAT THERE IS NO COVERAGE FOR ANY ALLEGED
                     "DEFAULTED CREDIT FACILITY"


        65.     The plaintiffs repeat and reallege the allegations contained in paragraphs one (1)

through sixty-fom (64) as if fully stated herein.

        66.     An actual controversy within the jmisdiction of this court exists between the parties

as to whether or not certain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

are required to indemnify 825 Main for loss, damages, costs or expenses which 825 Main has

incuned or may incm as a result of damage to the mill, including alleged "defaulted credit facility,"

tmder the Policy.

        67.     The claim for "defaulted credit facilities" does not fall within the scope of the

Business Income and Extra Expense Coverage.

        68.     Further, in order for there to be coverage for any loss under the Business Income and

Extra Expense Coverage Form (CP 00 30 06 07), the loss or damage must be caused by or result

from a Covered Cause ofLoss.

        69.     The alleged loss in September 2011 does not involve a covered cause of loss.

        70.     There is no coverage available to 825 Main for any alleged loss related to alleged

"defaulted credit facility" because of applicable and controlling language and/or exclusions or

limitations contained in the Policy.

        WHEREFORE, the plaintiffs, Underwriters, request a judgment declaring as follows:
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        a.      That tmder the Policy, certain Underwriters at Lloyd's, London subscribing to Policy

No. LPK 02377 are not required to indemnify 825 Main for alleged "defaulted credit facilities"

following events alleged to have occurred on or about September 16, 2011.

        b.      That certain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

be awarded all other relief allowed by law or in equity which the Court deems appropriate and just.

                                                 COUNT VI

 DECLARATION THAT PLAINTIFFS ARE RELIEVED OF ANY OBLIGATIONS DUE
               TO 825 MAIN'S FAILURE TO COOPERATE


        71.     The plaintiffs repeat and reallege the allegations contained in paragraphs one (1)

through seventy (70) as if fully stated herein.

        72.     An actual controversy within the jurisdiction of this court exists between the parties

as to whether or not certain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

are required to indemnify 825 Main for loss, damages, costs or expenses which 825 Main has

inctmed or may incur as a result of damage to the mill, including alleged loss of rental income and

"defaulted credit facility," tmder the Policy.

        73.     As a condition to coverage, the Policy requires the policy holder to cooperate in the

investigation of the claim including the provision of detailed inventories, permitting examination of

the insured's books and records, and submission to examination tmder oath.

        74.     825 Main did not reasonably cooperate with the plaintiffs' investigation of its claim.

        75.     The plaintiffs were prejudiced by 825 Main's lack of cooperation.

        WHEREFORE, the plaintiffs, Underwriters, request a judgment declaring as follows:

        a.      That 825 Main failed to comply with the Duties in the Event of Loss or Damage

tmder the Policy.
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          b.    That tmder the Policy, ce1iain Underwriters at Lloyd's, London subscribing to Policy

No. LPK 02377 are not required to indemnify 825 Main for any alleged loss, cost or expense

associated with 825 Main's claim in connection with the events alleged to have occurred on or

about September 16, 2011.

          c.    That certain Underwriters at Lloyd's, London subscribing to Policy No. LPK 02377

be awarded all other relief allowed by law or in equity which the Corui deems appropriate and just.

        THE PLAINTIFFS CLAIM A TRIAL BY JURY ON ALL ISSUES SO TRIABLE

                                                      CERTAIN     UNDERvnuTERS    AT
                                                      LLOYD'S, LONDON SUBSCRIBING TO
                                                      POLICY NO. LPK 02377,




Dated: February 10, 2014



                                                      Worcester, MA 01608
                                                      Tel.: 508.756.6288
                                                      EMail: farrey@burnsandfaney.com
JPMJ
(L0-134,#274)
